     Case 2:24-cr-00155-JAD-DJA          Document 40   Filed 09/09/24   Page 1 of 6




 1   COREY R. AMUNDSON
     Chief, Public Integrity Section
 2   Criminal Division
     U.S. Department of Justice
 3   Dahoud Askar
     Trial Attorney, Public Integrity Section
 4   1301 New York Ave. NW, 10th Fl.
     Washington, DC 20005
 5   202-368-1667
     Email: Dahoud.Askar@usdoj.gov
 6   Alexander Gottfried
     Trial Attorney, Public Integrity Section
 7   1301 New York Ave. NW, 10th Fl.
     Washington, DC 20005
 8   202-615-1286
     Email: Alexander.Gottfried@usdoj.gov
 9   Attorneys for the United States

10
                                  UNITED STATES DISTRICT COURT
11                                     DISTRICT OF NEVADA

12
      UNITED STATES OF AMERICA,                        Case No. 2:24-cr-00155-JAD-DJA
13                   Plaintiff,                        GOVERNMENT EXHIBIT LIST
14    vs.

15    MICHELE FIORE

                     Defendant.
16

17

18

19

20

21

22

23

24
                                                 1
          Case 2:24-cr-00155-JAD-DJA    Document 40       Filed 09/09/24     Page 2 of 6

                                       EXHIBIT LIST
Case No. 2:24-CR-0155-JAD-DJA                                  United States of America v. Michele Fiore

                            Exhibits on Behalf of the Government
    DATE          DATE            IDENTIFICATION                        DESCRIPTION
  ADMITTED       MARKED         No.           Witness
                                  1                         Bank Records for ABPF
                                 1A                         2019.12 Bank Statements for ABPF
                                 1B                         2020.01 Bank Statements for ABPF
                                  2                         Bank Records for Future for Nevadans
                                 2A                         2019.12 Bank Statements for Future for
                                                            Nevadans
                                  3                         Bank Records for Fiore for Nevada
                                 3A                         2019.12 Bank Statements for Fiore for
                                                            Nevada
                                  4                         Banks Records for Politically Off The
                                                            Wall, LLC
                                 4A                         2019.12 Bank Statements for Politically
                                                            Off The Wall, LLC
                                  5                         Bank Records for Truth In Politics The
                                                            Magazine, LLC
                                  6                         Bank Records for Hamlet Events
                                 6A                         2019.12 Bank statements for Hamlet
                                                            Events
                                 6B                         2020.01 Bank Statements for Hamlet
                                                            Events
                                  7                         Bank Records for Michele Fiore
                                 7A                         2019.11 Bank statements for Michele
                                                            Fiore
                                 7B                         2019.12 Bank statements for Michele
                                                            Fiore
                                  8                         Bank Records for Sheena Siegel
                                 8A                         2019.12 Bank statements for Sheena
                                                            Siegel
                                  9                         Bank Records for Savannah Kaime
                                 10                         Bank Records for Eric Lee
                                10A                         2019.07 Bank Statements for Eric Lee
                                 11                         INTENTIONALLY LEFT BLANK
                                 12                         INTENTIONALLY LEFT BLANK
                                 13                         Alyn Beck Grand Opening Ceremony
                                                            Photo
                                 14                         2018.12.21 Skye Canyon Article re
                                                            Groundbreaking
                                14A                         Photo of groundbreaking
                                 15                         Photo of Beck statue
                                 16                         Photo of Statue plaque
                                 17                         Las Vegas Public Artwork Application
                                                            Form
                                         Page 1 of 5
          Case 2:24-cr-00155-JAD-DJA    Document 40      Filed 09/09/24     Page 3 of 6

                                       EXHIBIT LIST
Case No. 2:24-CR-0155-JAD-DJA                                 United States of America v. Michele Fiore

                            Exhibits on Behalf of the Government
    DATE          DATE            IDENTIFICATION                        DESCRIPTION
  ADMITTED       MARKED         No.           Witness
                                 18                         2019.02.19 Development Agreement for
                                                            Alyn Beck Memorial Park
                                 19                         2019.08.09 Contract for Statue
                                 20                         2019.08.22 check to Hanlon
                                 21                         2019.10.30 check to Hanlon
                                 22                         2020.01.07 check to Hanlon
                                 23                         2020.01.29 check to Hanlon
                                 24                         2020.02.18 check to Hanlon
                                 25                         2020.02.18b check to Hanlon
                                 26                         News release inviting public to grand
                                                            opening
                                 27                         Video of Unveiling ceremony
                                27A                         Clip of Fiore speaking at ceremony
                                 28                         Paid Invoice Register for Hanlon
                                                            Sculpture Studio
                                 29                         Emails re: Officer Alyn Beck Statue
                                 30                         INTENTIONALLY LEFT BLANK
                                 31                         Nevada Secretary of State documents
                                                            regarding Future for Nevadans
                                 32                         Nevada Secretary of State documents
                                                            regarding ABPF
                                 33                         Non-profit intake questionnaire re
                                                            ABPF
                                 34                         INTENTIONALLY LEFT BLANK
                                 35                         2019.09.20 IRS docs re ABPF
                                 36                         Nevada Secretary of State documents
                                                            regarding Politically Off The Wall, LLC
                                 37                         Nevada Secretary of State documents
                                                            regarding Truth In Politics the
                                                            Magazine, LLC
                                 38                         Nevada Secretary of State documents
                                                            regarding Hamlet Events
                                 39                         2017.04.06 Proposed Contract from
                                                            Alchemy Associates to Fiore
                                 40                         INTENTIONALLY LEFT BLANK
                                 41                         Checks from ABPF to Jay Brown
                                 42                         2019.10.18 Stavola Check to ABPF
                                 43                         2019.10.08 NPL Capital check to ABPF
                                 44                         2019.10.10 Providence Investments
                                                            check to ABPF
                                 45                         ABPF Documents found during
                                                            execution of Search Warrant

                                         Page 2 of 5
          Case 2:24-cr-00155-JAD-DJA     Document 40       Filed 09/09/24     Page 4 of 6

                                       EXHIBIT LIST
Case No. 2:24-CR-0155-JAD-DJA                                   United States of America v. Michele Fiore

                            Exhibits on Behalf of the Government
    DATE          DATE            IDENTIFICATION                        DESCRIPTION
  ADMITTED       MARKED         No.           Witness
                                45A                         ABPF Solicitation letter found during
                                                            execution of Search Warrant
                                45B                         Handwritten notes found during
                                                            execution of Search Warrant
                                 46                         2019.12 Jay Brown checks to ABPF
                                 47                         2020.01.21 Vicky & Peter Palivos
                                                            check to ABPF
                                 48                         2019.12.30 Siegel Group check to
                                                            ABPF
                                 49                         Siegel Group Accounting Records
                                 50                         2019.12.27 email from B. Groesbeck re
                                                            check to ABPF
                                 51                         2019.12.27 MMDC check to ABPF
                                 52                         2019.12.30 BPS check to ABPF
                                 53                         2019.12.17 Chesnoff check to ABPF
                                 54                         2019.12.31 TAB email re donation to
                                                            ABPF
                                 55                         2019.12.31 TAB check to ABPF
                                 56                         2020.001.14 Community Ambulance
                                                            check to ABPF
                                 57                         2020.01.21 Richardson Charitable
                                                            Foundation check to ABPF
                                 58                         INTENTIONALLY LEFT BLANK
                                 59                         INTENTIONALLY LEFT BLANK
                                 60                         Secretary of State filings for Fiore for
                                                            Nevada
                                 61                         Secretary of State filings for Future for
                                                            Nevadans
                                 62                         2019.07.16 Lombardo check to Future
                                                            for Nevadans
                                 63                         2020.02.03 LECET check to Future for
                                                            Nevadans
                                 64                         2021.02.03 Fiore email to Local 872
                                 65                         Flyer from Future for Nevadans,
                                                            received by Harry Mohney
                                 66                         2019.11.15 Mohney Trust check to
                                                            Future for Nevadans
                                 67                         INTENTIONALLY LEFT BLANK
                                 68                         2020.02.06 Laborers International
                                                            Union check to FFN
                                 69                         2019.10.11 Integral Associates, Inc.
                                                            check to Future for Nevadans

                                          Page 3 of 5
          Case 2:24-cr-00155-JAD-DJA    Document 40      Filed 09/09/24     Page 5 of 6

                                       EXHIBIT LIST
Case No. 2:24-CR-0155-JAD-DJA                                 United States of America v. Michele Fiore

                            Exhibits on Behalf of the Government
    DATE          DATE            IDENTIFICATION                        DESCRIPTION
  ADMITTED       MARKED         No.           Witness
                                 70                         2019.09.12 Incorp check to Future for
                                                            Nevadans
                                 71                         2019.12.16 V is for Victory check to
                                                            Future for Nevadans
                                 72                         2019.12.24 ABPF check to Victoria
                                                            Seaman
                                 73                         INTENTIONALLY LEFT BLANK
                                 74                         INTENTIONALLY LEFT BLANK
                                 75                         INTENTIONALLY LEFT BLANK
                                 76                         INTENTIONALLY LEFT BLANK
                                 77                         INTENTIONALLY LEFT BLANK
                                 78                         INTENTIONALLY LEFT BLANK
                                 79                         INTENTIONALLY LEFT BLANK
                                 80                         Rental Agreement for 6205 Red Pine
                                                            Court
                                 81                         Rental payments for 6205 Red Pine
                                                            Court
                                 82                         Queensridge Event Payments for
                                                            Kaime/Willis Wedding
                                 83                         Photos of property at 6205 Red Pine Ct
                                 84                         INTENTIONALLY LEFT BLANK
                                 85                         Invoice documents for Plastic Surgery
                                                            Vegas
                                85A                         PSV Statements, Payments and chart for
                                                            Fiore
                                 86                         2020.01.06 ABPF check to Marianne
                                                            Rombola
                                 87                         ABPF Payments to Gil's Printing
                                 88                         2020.01.24 ABPF check to Kaqun
                                 89                         2019.12.06 ABPF check to Alchemy
                                                            Associates
                                 90                         INTENTIONALLY LEFT BLANK
                                 91                         2019.07.16 Future for Nevadans check
                                                            to Sheena Siegel
                                 92                         2019.10.29 ABPF check to Cash
                                 93                         2019.10.29 ABPF checks to Hamlet
                                                            Events
                                 94                         2019.10.29 deposit to Hamlet Events
                                 95                         2019.11.04 Cash withdrawal from
                                                            Hamlet Events
                                 96                         2019.11.12 ABPF online transfer to
                                                            Future for Nevadans

                                         Page 4 of 5
          Case 2:24-cr-00155-JAD-DJA    Document 40     Filed 09/09/24     Page 6 of 6

                                       EXHIBIT LIST
Case No. 2:24-CR-0155-JAD-DJA                                United States of America v. Michele Fiore

                            Exhibits on Behalf of the Government
    DATE          DATE            IDENTIFICATION                         DESCRIPTION
  ADMITTED       MARKED         No.           Witness
                                 97                         2020.01.03 ABPF check to Hamlet
                                                            Events
                                 98                         2020.01.13 ABPF check to Hamlet
                                                            Events
                                 99                         2020.01.27 ABPF check to Hamlet
                                                            Events
                                101                         Summary of Bank Records Exhibits
                                102                         Summary of ABPF Sources and Uses of
                                                            Funds
                                103                         Summary of Deposits Debits and
                                                            Checks of various accounts
                                104                         Demonstrative Exhibit of Count 2
                                                            transactions
                                105                         Demonstrative Exhibit of Count 3
                                                            transactions
                                106                         Demonstrative Exhibit of Count 4
                                                            transactions
                                107                         Demonstrative Exhibit of Count 5
                                                            transactions
                                108                         Demonstrative Exhibit of Count 6 & 7
                                                            transactions




                                         Page 5 of 5
